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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION


UNITED STATES OF AMERICA                        §
                                                §
vs.                                             §    CRIM ACTION NO. H-10-258-4
                                                §
                                                §
PATRICK LANIER                                  §


                                           ORDER

       The jury in the above styled case has been empaneled for more than Ten (10) days.

In accordance with 28 U.S.C. § 1871(b)(2), their rate of pay should be increased to $50.00 per day

beginning February 21, 2012.

       Accordingly, the Clerk is hereby ORDERED to increase the rate of pay from $40.00 to

$50.00 per day as of February 21, 2012.

               SIGNED on February 20, 2014, at Houston, Texas.


                                                 ______________________________________
                                                   Lee H. Rosenthal
                                                 United States District Judge
